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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In Re:                                               §
                                                     §
FT/R, LLC                                            §      CASE NO. 19-80176
                                                     §           (Chapter 11)
                                                     §
          Debtor.                                    §

                              NOTICE OF APPEARANCE OF COUNSEL

          PLEASE TAKE NOTICE that Texas Gulf Bank, N.A. creditor in the above-styled case,

pursuant to Bankruptcy Rule 9010(b), hereby requests that all notices given or required to be given

in this case and in any cases consolidated herewith, and all papers served or required to be served

in this case, and in any cases consolidated herewith, be given to and served upon the following:

                                         Michael J. Durrschmidt
                                         Victoria N. Argeroplos
                                      Hirsch & Westheimer, P.C.
                                       1415 Louisiana, 36th Floor
                                         Houston, Texas 77002
                                       Telephone: 713-220-9165
                                        Facsimile: 713-223-9319
                                 E-mail: mdurrschmidt@hirschwest.com
                                  E-mail: vargeroplos@hirschwest.com

This request encompasses all notices, copies, and pleadings referred to in Rules 2002, 3017, and

9007 of the Bankruptcy Rules of Procedure, including, without limitation, notices of any orders,

motions, demands, complaints, petitions, pleadings or requests, applications, and any other

documents brought before this Court in this case, whether formal or informal, written or oral, and

whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise, which

affect or seek to affect the captioned proceeding.




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          Respectfully submitted this 4th day of June, 2019.

                                               HIRSCH & WESTHEIMER, P.C.

                                               By: /s/ Michael J. Durrschmidt
                                                      Michael J. Durrschmidt
                                                      Texas Bar No. 06287650
                                                      Victoria N. Argeroplos
                                                      Texas Bar No. 24105799
                                                      1415 Louisiana, Floor 36
                                                      Houston, Texas 77002
                                                      Telephone: 713-220-9165
                                                      Facsimile: 713-223-9319
                                                      E-mail: mdurrschmidt@hirschwest.com
                                                      E-mail: vargeroplos@hirschwest.com

                                               ATTORNEYS FOR TEXAS GULF BANK, N.A.



                                  CERTIFICATE OF SERVICE

        I, Michael J. Durrschmidt, hereby certify that on the 4th day of May, 2019, a copy of the
foregoing Notice of Appearance of Counsel was served via first class mail, postage prepaid, and/or
via the Clerk of the Court through the ECF system.


                                                   /s/ Michael J. Durrschmidt
                                                   Michael J. Durrschmidt




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